     Case 3:18-cv-01621-JM-JLB Document 119 Filed 04/11/22 PageID.1975 Page 1 of 5




1    TODD KIM
2    Assistant Attorney General
     Environment & Natural Resources Division
3    U.S. Department of Justice
4    ANDREW S. COGHLAN (CA Bar # 313332)
     LUCY E. BROWN (HI Bar # 10946)
5    Environmental Defense Section
6    P.O. Box 7611
     Washington, D.C. 20044-7611
7    (202) 514-9275
8    andrew.coghlan@usdoj.gov
     Attorneys for Defendants
9
10                      UNITED STATES DISTRICT COURT
11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA

12    CITY OF IMPERIAL BEACH, et al.,             Case No. 3:18-cv-00457-JM-JLB
13                         Plaintiffs,
14          vs.
                                                  NOTICE OF SETTLEMENT
15    THE INTERNATIONAL BOUNDARY
16    & WATER COMMISSION – UNITED
      STATES SECTION, et al.,
17
18                         Defendants.

19    SURFRIDER FOUNDATION, a                     Case No. 3:18-CV-01621-JM-JLB
20    California non-profit corporation,

21                         Plaintiff,
22          vs.

23    THE INTERNATIONAL BOUNDARY
24    & WATER COMMISSION – UNITED
      STATES SECTION, an agency of the
25    United States,
26
                           Defendant.
27
28
                               NO TICE O F SETTLEMENT                       18cv00457
                                                                            18cv01621
                                                                            18cv02050
     Case 3:18-cv-01621-JM-JLB Document 119 Filed 04/11/22 PageID.1976 Page 2 of 5




1     PEOPLE OF THE STATE OF                     Case No. 3:18-cv-02050-JM-JLB
2     CALIFORNIA, EX. REL. THE
      REGIONAL WATER QUALITY
3     CONTROL BOARD, SAN DIEGO
4     REGION, et al.,

5                         Plaintiffs,
6           vs.

7     INTERNATIONAL BOUNDARY AND
8     WATER COMMISSION, UNITED
      STATES SECTION, et al.,
9                     Defendants.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                              NO TICE O F SETTLEMENT                       18cv00457
                                                                           18cv01621
                                                                           18cv02050
     Case 3:18-cv-01621-JM-JLB Document 119 Filed 04/11/22 PageID.1977 Page 3 of 5



1          The Parties jointly submit this Notice to inform the Court that on or around
2    April 11, 2022, they will have fully executed a Settlement Agreement. Pursuant to
3    the terms of that Settlement Agreement, and as noted in previous filings, Plaintiffs
4    will move for dismissal of these related actions under Federal Rule of Civil
5    Procedure 41(a)(2) while requesting that the Court retain jurisdiction solely to
6    consider any claims for attorneys’ fees and costs. Plaintiffs will file that motion
7    within seven days from the date the Settlement Agreement is fully executed by all
8    Parties.
9
10                                           Respectfully Submitted

11    Dated: April 11, 2022
12                                     By: /s/ Phillip M. Hoos
                                           Phillip M. Hoos
13                                         Noah Golden-Krasner
14
15                                           Office of the Attorney General of the
                                             State of California
16
17                                           Attorneys for Plaintiff the People of the
                                             State of California, ex rel., the Regional
18                                           Water Quality Control Board, San Diego
19                                           Region
20
                                       By: /s/ Timothy R. Sloane
21                                         Matthew K. Edling
22                                         Victor M. Sher
                                           Timothy R. Sloane
23
24                                           Sher Edling LLP
25                                           Attorney for Plaintiffs the City of
26                                           Imperial Beach, the San Diego Unified
27                                           Port District, and the City of Chula Vista

28


                              NO TICE O F SETTLEMENT                            18cv00457
                                                                                18cv01621
                                                                                18cv02050
                                              1
     Case 3:18-cv-01621-JM-JLB Document 119 Filed 04/11/22 PageID.1978 Page 4 of 5



1                                   By: /s/ Andrew M. Vogel
2                                       Hayley Peterson
                                        Andrew M. Vogel
3
4                                          Office of the Attorney General of the
                                           State of California
5
6                                          Attorneys for Plaintiff State Lands
7                                          Commission
8                                   By: /s/ Julie Rau
9                                       Mara W. Elliott
                                        Mark Ankcorn
10
                                        Julie Rau
11
12                                         City of San Diego – Office of the City
                                           Attorney
13
14                                         Attorneys for Plaintiff City of San Diego
15
16                                  By: /s/ Jiaxiao Zhang
17                                      Margaret H. Warner
                                        Jennifer B. Routh
18                                      Jiaxiao Zhang
19
                                           McDermott Will & Emery LLP
20
21
22                                         /s/ Angela T. Howe
                                           Angela T. Howe
23
24                                         Surfrider Foundation
25                                         Attorneys for Plaintiff Surfrider
26                                         Foundation
27
28


                            NO TICE O F SETTLEMENT                               18cv00457
                                                                                 18cv01621
                                                                                 18cv02050
                                            2
     Case 3:18-cv-01621-JM-JLB Document 119 Filed 04/11/22 PageID.1979 Page 5 of 5



1                                   By: /s/ Andrew S. Coghlan
2                                       Andrew S. Coghlan
                                        Lucy E. Brown
3
4                                          U.S. Department of Justice –
5                                          Environmental Defense Section
6                                          Attorneys for Defendant the
7                                          International Boundary and Water
                                           Commission – United States Section
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                            NO TICE O F SETTLEMENT                         18cv00457
                                                                           18cv01621
                                                                           18cv02050
                                            3
